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U.S. DISTRICT COURT

 

 

NORTHERN DISTRICT OF TEXAS
IN THE UNITED STATES DISTRICT COURT *<

 

 

 

 

 

 

FOR THE NORTHERN DISTRICT OF TEXA$ DEC20 ame2 f
AMARILLO DIVISION CLERK US. DISTRICT Qougr
ALEXANDER R. DEANDA, § ES
Plaintiff,
v. : 2:20-CV-092-Z
XAVIER BECERRA, et al.,
Defendants. ;
FINAL JUDGMENT

Judgment is rendered in favor of Plaintiff Alexander R. Deanda, and against Defendants
Xavier Becerra, in his official capacity as Secretary of Health and Human Services, Jessica
Swafford Marcella, in her official capacity as Deputy Assistant Secretary for Population Affairs,
and the United States of America, on Plaintiff's claims that Defendants are violating Plaintiff's

rights under Section 151.001(a)(6) of the Texas Family Code and the Due Process Clause of the

 

Fourteenth Amendment in their administration of the Title X program.

Judgment is rendered in favor of Defendants Xavier Becerra, in his official capacity as
Secretary of Health and Human Services, Jessica Swafford Marcella, in her official capacity as
Deputy Assistant Secretary for Population Affairs, and the United States of America, and against
Plaintiff on Plaintiff's claim that Defendants are violating his rights under the Religious Freedom
Restoration Act in their administration of the Title X program.

The Court awards the following relief:
 

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1. The Court DECLARES that Defendants’ administration of the Title X program
violates Plaintiffs rights under Section 151.001(a)(6) of the Texas Family Code, as
there is nothing in 42 U.S.C. § 300(a) that purports to preempt state laws requiring
parental consent or notification before distributing contraceptive drugs or devices to
minors.

2. The Court DECLARES that Defendants’ administration of the Title X program
violates Plaintiffs fundamental right to control and direct the upbringing of his minor
children, which is protected by the Due Process Clause of the Fourteenth Amendment,
as protected by the Supreme Court of the United States.

3. The Court HOLDS UNLAWFUL and SETS ASIDE the second sentence of 42 C.F.R.
§ 59.10(b) as “not in accordance with law,” “contrary to constitutional right, power,
privilege, or immunity,” and “in excess of statutory . . . authority.” 5 U.S.C.

§ 706(2)(A){C).
All other relief not expressly granted herein is DENIED.

SO ORDERED.
December Mx Lp

MATHEW J. KACSMARYK
2 TED STATES DISTRICT JUDGE

 
